Case 2:05-CV-02425-SHI\/|-tmp Document 6 Filed 06/30/05 Page 1 of 2 Page|D 1

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IN THE UNITED sTATEs DISTRICT CoURT F ` `- D-C-
THE WESTERN DISTRICT oF TENNESSEE JUN 39 H 2, b
wEsTERN DIVISION - l

TRACY GoREA, CLEHK U-§- "*$m;c: immr
on behalf of herself and all others similarly Oi i“‘r': i§PH§
situated, Judge Mays
Magistrate-Judge Pham

Plaintiffs,
v. Case No: 05-CV-2425
THE GILLETTE COMPANY,

Defendant.

 

 

={=PRGFQSED} ORDER GRANTING MOTION TO EXTEND TIME TO MOVE,
ANSWER, OR OTHERWISE RESPOND TO COMPLAINT AND TO RESPOND TO
MOTION F()R CLASS CERTIFICATI()N

 

This matter came before the Court on the motion of Defendant The Gillette Company
(“Gillette”) for an extension of time to move, answer, or otherwise respond to Plaintiff’S
Complaint and to respond to Plaintiff’s Motion for Class Certif`lcation. The Court finds that
Gillette’s Motion is Well-taken and, good cause appearing, is GRANTED, Accordingly, it is
hereby

ORDERED that Defendant Gillette shall have an extension through and including
August 5, 2005 to move, answer, or otherwise respond to Plaintiff’S Complaint and to respond to

Plaintiff"s Motion for Class Certiiication.

Dated: June §Q, 2005 M

U.S. MAGISTRATE-JUDGE PHAM

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With Ru|e 58 and/or 79(8) FRCP on ' `

 

UNITsED`ATE DISTRICT COURT WESTE"DT"RISRIC OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02425 Was distributed by faX, rnail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

